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                                             U.S. Department of Justice
                                             United States Attorney
                                             District of New Jersey


                                             970 Broad Street           973-645-2700
                                             Newark, New Jersey 07102



                                             November 25, 2024


 VIA CM/ECF

 Honorable Michael E. Farbiarz
 United States District Judge
 U.S. Post Office & Federal Courthouse
 Newark, New Jersey 07102

             Re:   United States v. Gordon Coburn and Steven Schwartz
                   Crim. No. 19-120 (MEF)

 Dear Judge Farbiarz:

        Pursuant to the Court’s August 2, 2024 Order, see ECF No. 769, the
 Government respectfully submits this letter to notify the defendants that earlier
 today, the Government submitted a letter ex parte and under seal describing the
 efforts the U.S. government has made, and will continue to make, to facilitate the
 execution of the Mutual Legal Assistance Treaty (“MLAT”) request in this matter.

                                             Respectfully submitted,

 GLENN S. LEON                               PHILIP R. SELLINGER
 Chief                                       United States Attorney

 /s/ Keith D. Edelman
 /s/ Connor Mullin                           /s/ Rachelle M. Navarro
 /s/ Paul G. Ream
 ________________________________            __________________________
 KEITH D. EDELMAN
 CONNOR MULLIN                               RACHELLE M. NAVARRO
 PAUL G. REAM                                Assistant United States Attorney
 Fraud Section, Criminal Division            District of New Jersey
 U.S. Department of Justice
